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EXHIBIT H
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Brenner, Wendy

From: O'Dell, Lori on behalf of Tenhoff, Gregory

Sent: Monday, August 02, 2010 4:36 PM

To: Brenner, Wendy

Ce: Tenhoff, Gregory

Subject: FW: FW: Accommodations on upcoming MPRE exam for Stephanie Enyart
Importance: High

Wendy:

Please see another e-mail below from Larry Paradis for your review.

Lori O'Dell

Legal Secretary

Assistant to Gregory Tenhoff, Ann Polus,

Ilana Landsman, and Jennifer Kemerer Buddin
Cooley LLP

Physical Address:

3175 Hanover Street

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Email: lodell@cooley.com « www.cooley.com

From: Larry Paradis [mailto:larryp@dralegal.org]
Sent: Monday, August 02, 2010 4:13 PM
To: Tenhoff, Gregory

Subject: FW: FW: Accommodations on upcoming MPRE exam for Stephanie Enyart
Importance: High

Dear Greg, please see email communications below. Can you confirm with NCBE that it will have its IT personnel
available on Wed, Thurs and Friday, and provide the administrative privilege password if that is needed? Thanks, Larry

From: Brian Maschler [mailto:BMaschier@gordonrees.com]

Sent: Monday, August 02, 2010 3:47 PM

To: Larry Paradis

Subject: FW: FW: Accommodations on upcoming MPRE exam for Stephanie Enyart
Larry,

| have been authorized to forward to you the email from ACT below. Could you please advise NCBE/its counsel
accordingly?

Thank you.

-Brian

From: Michael.Clifton@act.org [mailto:Michael.Clifton@act.org]
Sent: Monday, August 02, 2010 3:38 PM
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To: Brian Maschier
Ce: Michael Bruno
Subject: Re: FW: Accommodations on upcoming MPRE exam for Stephanie Enyart

Brian,

It is my understanding that the laptop is in San Francisco with the Test Center Supervisor (who is not an ACT employee)
or possibly still en route. ACT's employee will be arriving in San Francisco on Tuesday and meeting with the Test Center
Supervisor on Wednesday. The Test Center Supervisor should have the laptop with her then.

NCBE provided ACT the laptop with the applications already installed. Because NCBE is the owner of the laptop and the
ones who installed the applications on it, they should have the administration privilege password and are best positioned
to troubleshoot/install/deinstall programs. tn fact, they have provided us with their 1T contact for technical issues. We will
instruct our on site employee to call that person on Wednesday and follow their instructions. It will be important for NCBE
to make someone available for that purpose on Wednesday, Thursday, and Friday.

Mike
“Brian Maschler” <BMaschler@gordonrees.com> To <Michael.Clifton@act.org>
cc "Michael Bruno" <MBruno@gordonrees.com>
08/02/2010 03:28 PM Subject FW: Accommodations on upcoming MPRE exam for Stephanie Enyart
Michael,

We just received the below from Ms. Enyart’s counsel.

-Brian

From: Larry Paradis [mailto:larryp@dralegal.org]

Sent: Monday, August 02, 2010 1:00 PM

To: Brian Maschler

Ce: Tenhoff, Gregory

Subject: Accommodations on upcoming MPRE exam for Stephanie Enyart
Importance: High

Dear Brian,

I'd like to request your assistance in the set up for Ms. Enyart’s upcoming MPRE exam. Ms. Enyart just completed the
MBE exam using a laptop provided by NCBE, and encountered technical difficulties again. The particular problems she
encountered were different than those she encountered during the previous test administration. This time, the problem
concerned a lack of synchronization between the JAWS and ZoomText software programs. As a result, there were
difficulties wherein the cursor on the ZoomText screen was not matching up to the material being read out loud by the
JAWS program. The problem was identifed during the set up during the day before the MBE began. The problem was
intermittent in that when Ms. Enyart first inputted the settings on the programs the two programs would work properly
together for awhile, but then after a period of time they would stop coordinating. We tried to resolve the problem using
our technical support person at DRA, but were not able to fix it. One possible reason for the problem was that the laptop
apparantly had an antivirus program ("McAffey") which had not been renewed. Our technical support person thought that
deleting the antivirus program might help, but we were unable to do so because Ms. Enyart and no one at the test site had
“administrative privileges” to alter any of the programs on the laptop. Ultimately, Ms. Enyart found some ways to

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minimize the problem but was not able to get the two software programs working consistently together throughout the test.

We would like to minimize the chances of this or other technical problems occuring on the upcoming MPRE exam. We
understand that the ACT will be installing the two software programs this Tuesday or Wed.

Could you ask the ACT personnel to make sure when installing the programs that there is no expired antivirus software on
the laptop - i.e. that if there is antivirus software that has expired that it be updated or deleted? Also, could you ask them
to confirm that the operating system being used is Windows XP, and ask that they check as fully as possible that the
JAWS and ZoomText programs are in fact working together properly and that the cursor sychronizes with the JAWS
program as a user moves around within the text and stays sychronized for at least 30 minutes of testing?

Also, in case there are problems that Ms. Enyart encounters during her set up and testing of the equiptment on Thursday
August 5 could you ask the ACT personnel to be sure they have “administrative privileges” vis a vie the laptop, so that
problems if they arise can be fixed?

By cc to Greg, | am asking that NCBE allow such privileges to the ACT personnel.

Finally, once the equiptment set up is complete and the programs tested the day before the exam, could we ensure that
the equiptment is left on so that whatever settings Ms. Enyart has inputted remain in effect for the test day? It took Ms.
Enyart several hours to find settings that minimized the problems with the technology on the set up for the MBE, and it
seems that allowing the equiptment to stay on will minimize any further problems that might occur on the test
administration day. If the laptop goes into hibernate or sleep mode that is better than having it be shut down.

Thank you for your attention to this matter.

Sincerely, Larry Paradis

oe Original Message-----

From: Larry Paradis

Sent: Monday, July 12, 2010 4:11 PM

To: bmaschler@gordonrees.com

Ce: 'Tenhoff, Gregory’

Subject: Accommodations on upcoming MPRE exam for Stephanie Enyart

Dear Brian,

As you may know, Ms. Enyart will need to take the MPRE again. It is scheduled to be held on August 6, 2010. The
Federal Court has issued a second preliminary injunction requiring that NCBE provide the exarn to Ms. Enyart on a laptop
computer equipped with the JAWS and ZoomText programs. The one difference this time that concerns ACT is that the
Court directed that Ms. Enyart be allowed to set up and test the equipment, including the NCBE laptop, on the day before
the MPRE begins. We actually arranged this to occur the last time with your help on a voluntary basis, and we are hoping
this will not pose any difficulties this time around. Last time, Ms. Enyart took the MPRE on the east coast and was able
to arrange with the University where the test was given to have the testing room made available for the setup the day
before and to ensure that the room was secured overnight since Ms. Enyart was to supply the monitor and other
peripheral equipment for the exam, as well as various items such as a special lamp, and it is important that this equipment
be kept secure.

This time, Ms. Enyart will be taking the exam on the West Coast. She has requested that the exam be held in Oakland
as her first choice, and Alameda as her second choice. Could you check with ACT to find out which location the exam will
be administered at, and to confirm that the testing room and NCBE laptop will be made available on Thursday August 5 -
the day before the exam begins? Ms. Enyart would prefer to schedule the setup and testing for the morning of Thursday
Aug. 5. Can you check on whether the morning time will work? Could you also confirm that the room will be secured
from the time of the setup and overnight? Will NCBE be sending its own representative to maintain security of the laptop,
or will an ACT employee be supervising the NCBE laptop once it arrives?

Also, part of the set up and testing will be to check that the laptop provided by NCBE allows for the questions to be
displayed in 14 point Ariel font. In case there are any technical glitches, Ms. Enyart will need access to a phone to call
our technical support person during the setup and testing of the equipment. Can Ms. Enyart bring her cell phone into the
exam room during the equipment setup and testing on August 5? [If not, could you confirm that there will be someone
present during the set up and testing of the equipment that has a cell phone Ms. Enyart can use in case she needs help

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from our technical support person?

Ms. Enyart also found it helpful during the last administration of the MPRE to have the contact information for the person
who would be supervising the setup and testing process the day before the exam, so that they could touch base ahead of
time and coordinate on when and where they would be meeting for the setup process. Could you facilitate that
arrangement this time as well by passing along to me the name and phone number of the person who will be overseeing
the setup process so that Ms. Enyart can contact him or her?

For your information, | am attaching a copy of the second preliminary injunction that the court issued.

Finally, Ms. Enyart informs me that last time there was some confusion regarding delivery of a letter from ACT to Ms.
Enyart regarding her accommodations. Apparently, ACT tends to send its final letter confirming the accommodations
during the week before the MPRE is given. However, because Ms. Enyart is taking the California Bar Exam during that
week before the MPRE, she will not be home to receive such a letter. Could you check with ACT to see if it can get such
a letter delivered on or before July 24, since that is the last day before Ms. Enyart moves to Burlingame to take the
California Bar Exam? Alternatively, the letter could be directed to me.

Thank you for your cooperation in this matter.

Sincerely,
Larry Paradis

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party any tran fon or mit
GORDON & REES LLP
http://www.gordonrees.com

